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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                            Case No. 1:06-cr-24-01
                                                              HON. ROBERT HOLMES BELL
MONICA MANGO,

            Defendant.
_____________________________/


                                            OPINION

               Presently before the Court is a Motion for Reconsideration of Detention Order filed

by defendant Mango. The Government has filed a response to the motion and a hearing was held

on March 8, 2007. Testifying at that hearing were defendant Monica Mango and Detective Teresa

Lewis. At the conclusion of the hearing, I indicated that it was my intention to release defendant

Mango to the custody of her mother. Before the defendant could be released, I felt it was necessary

that defendant’s mother be placed under oath and that I ask her certain questions to assure the Court

that she could act as a proper custodian. I have returned to Marquette, Michigan, and Magistrate

Judge Ellen Carmody has agreed to handle any further proceedings on the issue of defendant

Mango’s release pending trial. Accordingly, I am issuing this Opinion to clarify the status of

defendant’s request for reconsideration of detention order.

               The Indictment in this matter was filed on January 26, 2006, and a warrant was issued

for the arrest of defendant Mango on that same date. The Indictment charged defendant Mango with

Conspiracy to Distribute and Possess With Intent to Distribute 50 Grams or More of a Substance

Containing a Detectable Amount of Crack Cocaine in Count 1and Distribution of Crack Cocaine in
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Counts 2, 3, 4, 7 and 8. Also charged in the Indictment was James Lee Callahan, Jr. Defendant

Mango was arrested in California on January 10, 2007, and was detained in that district by order of

United States Magistrate Judge Robert N. Block. The court in California indicated that defendant

Mango had an unstable residence pattern, minimal ties to the State of California, a lack of adequate

bail resources, prior instances of non-compliance with court orders, and “some evidence defendant

fled to avoid prosecution.” The court in California also detained defendant as a danger to the

community based on the nature of the allegations and her history of drug abuse. That order was

issued on December 21, 2006. Thereafter, defendant was transported to the United States District

Court for the Western District of Michigan, Southern Division. Defendant Mango appeared before

United States Magistrate Judge Carmody on January 16, 2007, and was informed that if new

evidence arose she could file a motion to reopen detention. Attorney Paul Denenfeld was appointed

to represent defendant Mango on or about February 9, 2007. Thereafter, defendant filed this motion

for release from custody. According to defendant Mango, release is appropriate in this matter based

on the new evidence that defendant Mango’s mother, Ms. Susan Kennedy, who is a juvenile

corrections officer, has expressed a willingness to act as third party custodian should defendant

Mango be released to her custody.

               The Government maintains that there is not new evidence which would justify

reopening the detention hearing as permitted by 18 U.S.C. § 3142(f)(2). The statute provides that

“the hearing may be reopened, before or after a determination by the judicial officer, at any time

before trial if the judicial officer finds that information exists which was not known to the movant

at the time of the hearing and that has a material bearing on the issue whether there are conditions

of release that will reasonably assure the appearance of such person as required and the safety of any

other person in the community.” 18 U.S.C. § 3142(f)(2).

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               I find that new evidence does exist justifying the reopening of the detention hearing.

First, defendant Mango’s mother has indicated a willingness to act as custodian should the Court

release the defendant. Second, I received the testimony of Detective Teresa Lewis at the detention

hearing, which provided new evidence regarding the nature of the offense, as well as the alleged

danger presented to the community by the defendant. In addition, since the hearing held in

California, the parties have entered into a proposed plea agreement which provides additional

evidence regarding the nature and circumstances of the offense charged and the weight of the

evidence against the defendant.

               The Government maintains that the defendant poses an unreasonable risk of flight

even if her mother is offered as third party custodian. The evidence presented at the hearing

establishes that in October of 2005, defendant Mango became aware that her conduct was under

investigation by law enforcement. The Government offered the testimony of Detective Lewis, which

established that telephone calls were made by defendant Mango to Detective Lewis, which

establishes that defendant was aware that her conduct was under investigation and that Detective

Lewis was somehow assisting law enforcement. No effort was made to arrest defendant Mango in

October, November or December of 2005. Defendant continued to live in the Lansing area and

continued to work where she had worked prior to October of 2005. The Indictment in this matter

was returned in January of 2006. The unrebutted testimony of the defendant establishes that she

continued to reside in Lansing and worked at the same establishments she had worked at throughout

the Fall of 2005. Detective Lewis testified that she made some efforts to arrest defendant Mango

between January and April of 2006. However, those efforts were not fruitful. Having heard the

testimony of Detective Lewis, I conclude that defendant Mango’s arrest was not a particularly high



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priority of law enforcement. Some six months after she became aware she was under investigation

for her drug activity, defendant moved to California.

                Having heard the testimony of defendant Mango and Detective Lewis, I find that there

is not a substantial risk that defendant will flee pending further proceedings in this action. The

record does not establish a history of failure to appear for court proceedings. Moreover, defendant’s

action in moving to California in April of 2006 is not viewed by this Court as an effort to flee

prosecution. People who are seeking to avoid prosecution do not wait six months to flee the

jurisdiction.

                The Government next contends that defendant Mango presents a danger to the

community and that the Government is entitled to a rebuttable presumption because of the nature of

the offense. The Government is entitled to a rebuttable presumption because defendant has offered

a plea to a controlled substances offense identified in the statute. 18 U.S.C. § 3142(d). I find that

defendant has rebutted the presumption in this case. At the plea hearing and the detention hearing

held in this matter, it was established that defendant Mango was involved in four to five drug sales

during the course of this drug conspiracy. Defendant plead guilty to a drug deal involving just over

50 grams of crack cocaine and the plea agreement establishes that the Government and the defendant

agree that she is responsible for distributing between 50 and 150 grams of crack cocaine. There is

no evidence that defendant Mango was involved in a wide ranging or extensive conspiracy to

distribute crack cocaine. Furthermore, there is no evidence that she has continued such activity

since she became aware her conduct was under investigation in the Fall of 2005. Moreover,

defendant has no prior criminal history other than an incident as a juvenile for truancy.

                The Government appeared to argue that defendant Mango presented a danger to the

community because she was a bad driver. Other than the testimony of Detective Lewis that the

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defendant drove a car which was in bad condition, there was little or no support for this argument.

The Government next argued that defendant should be detained because she threatened a government

witness. The transcript of two telephone conversations, as well as the tape of those conversations,

were presented at the hearing. I do not find that the defendant threatened a government witness in

those conversations. Those conversations are the conversations of a young woman who felt betrayed

by someone she had been dealing with and was angry that her boyfriend had been arrested. There

is no suggestion, nor any evidence, to support a claim that defendant Mango threatened a government

witness. Furthermore, the Government’s action does not support its claim that the defendant had

threatened a government witness. If in fact the defendant had threatened a government witness, the

Government would not have waited months to seek the arrest of the defendant.

               Accordingly, I find that the evidence of record does not justify detaining defendant

Mango pending the Court’s consideration of the proposed plea agreement offered in this matter.

Defendant’s release pending sentencing does not present a serious risk that defendant will flee or

pose a danger to the community. If Ms. Kennedy appears to be an appropriate custodian, I would

release defendant Mango to her custody.



                                             /s/ Timothy P. Greeley
                                             TIMOTHY P. GREELEY
                                             UNITED STATES MAGISTRATE JUDGE

Dated: March 12, 2007




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